Case 1-25-44009-€SS DOC Yl-c Filed Uciisico Entered O2Z/1s/2o LOL fico

BANK RECONCILIATION
Case 1-25-44005-€SS DOC Yl-e2

25 JAY STRET LLC

FLAGSTAR BANK - OPERATING ACCOUNT
Bank Reconciliation as of December 31st, 2024

! G/L #10025

Filed O4iloizo Entered O2z/lofzo 1LO0T1L fico

Acct Number: 1500-529756

Balance per books 12/03/2024

CASH RECEIPTS

Residential Tenant Receipts
Commercial Tenant Receipts

Addt SD# 101 H.E.A.L NY LLC
Security Depsoit

Last Month Rent

Utility Fee 209 Farrah Rotman
Utility Fe# 413 Hannabeth Lagerloff
Nationwide

Late Fee

Late Fee# 511 Josef A Cohen

Jay Street Office LLC

Online Xfer from# 3818 - Alfie Hospitality Group

CASH DISBURSEMENTS

Checks # 350258- 350267

NYS DTF PIT

NYC Buildings DOB

“ Con Edison
Flood Insurance Premium
PFS Financing Corp
Midland Loan Services (PNC}
NYC Dept of Fina NYCDOF PTX
Acrisure Insurance Partners
Return Check# 206 Olivia J Baseman
Returned Deposit Fee

Senet

ADJUSTMENTS

BALANCE PER BOOKS

Outstanding Checks

ADJUSTED BALANCE:

BALANCE PER BANK

115,321.56

54,786.34
386,00

100.00
165,00
661.00

375.00

4,000.00

17,029.68

2,417.69

60,000.00

12/31/2024

12/31/2024

12/31/2024

375,041.21

175,794.90

(79,447.37)

471,388.74

524.72

471,913.46

471,913.46

Case 1-25-44009-€SS DOC Yl-c Filed Uciisico Entered O2Z/1s/2o LOL fico

Cash Receipt

25 Jay Street LLC
DECEMBER, 2024
in
date Tenants Name Total Income Residential Inc Commercial Inc Other Details Unit #
12/02/24 ||Bandit Studio LLC 44,350.00 7,000.00 103
Anup Daji 3,750.00 414
RKO Studios Inc 3,600.00 500
12/03/24 ||Nationwide 661,00 661.00 Policy Now ACP CG 0103201651068
12/04/24 }THEA.L NY LLC 13,647.00 13,261.00 386.00 Addt SD 101
12/04/24 ||David M Mendola 8,100.00 4,750.00 201
Brooklyn Experience Lab LLC 3,350.00 301
12/04/24 ||Joshua B Kitts 13,000.00 3,300.00 403
Miles Thresher 3,200.00 410
Lemolab LLC 6,500.00 505
12/04/24 {Katherine Gordon 11,358.11 4,558.11 202
Daniel Liss 4,900.00 406
Kirac Sogutlu 4,900.00 510
12/05/24 ||Nancy P Levy 8,331.72 4,721.72 503
Corey L Cano 3,360.00 402
Farah Rottman 3,150.00 100,00 Utility Fee 209
5/24 The K9 Butcher LLC 4,500.00 4,500.00 102
12/06/24 ||Joshua A Liebowitz 3,250.00 3,250.00 310
12/09/24 || Melville House Publishing LLC 18,675.34 11,675.34 400
Zachary R Gibson 3,500.00 200
Patrick J Gilligan 3,500.00 305
12/09/24 |/Elizabeth Cathcart 12,000.00 4,000.00 204
Nainin & Gilbert 3,500.00 205
Brian J Whiton 4,500.00 208
12/09/24 ||Keelan G Boyle 14,085.00 5,500.00 307
Shay J Grimley 4,685.00 309
Dung K Tran 3,900.00 407
12/09/24 ||Hannabeth Lagerlof 13,015.00 3,850.00 165.00 Utility Fee 413
Nicholas A Oxley 4,706.00 408
Dominic landoli 4,300,00 405
12/10/24 ||Jayoon Park 3,200.00 1,600.00 409
Nakgyun im 1,600,00 409
42/10/24 ||Ollvia J Baseman 1,164.94 1,164.94 206
11/24 |}Lanningsmith Studio LLC 7,500.00 7,600.00 104
12/13/24 |{Steven West 9,731.79 1,072.34 $02
Cara Lee Spany 959.45 300
William J Balcom 41,750.00 4ii
Hadley Potts 1,750.00 411

Case 1-25-44005-€SS DOC Yl-e2

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Amir Mustefa 4,200.00 308
42/19/24 ||Josef A Cohen 4,125.00 3,760.00 375.00 Late Fee SAL
31/24 ||]Lanningsmith Studio LLC 11,100,00 ’ 7,500.00 104
RKO Studio Inc 3,600.00 500
[ | I 471,794.90 | 118,321.56 [ 54,786.34 1,687.00 il
Wire Transfer
25 Jay Street LLC
DECEMBER, 2024
Date Tenants Name Total income Residential Inc Commercial Inc Other Details Unit #
12/02/24 }|Dana Sass 4,000.00 4,000.00 WT in Alfie 207
12/31/24 |;/Dana Sass 4,200.00 4,200.00 WT in Alfie 207
8,200.00 8,200,00 - ”
| | Total | 179,994.90 123,524.56 54,786.34 1,687.00 I

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Case 1-25-44009-€SS DOC Yl-c Filed Uciisico Entered O2Z/1s/2o LOL fico

25 JAY STRET LLC

CASH DISBURSEMENTS JOURNAL
Bank Reconciliation as of December 31st, 2024

) PAYABLE TO CHECK DATE CHECK # AMOUNT Note
Kip Jacobs 12/2/24 350258 400.00
Eddies Plumbing Supplies 12/6/24 350259 170.93
Ayala Home Improvement Inc 12/6/24 350260 880.00
Eastern Elevator of New York 12/13/24 350261 9,199.94
Kip Jacobs 12/20/24 350262 400,00
Johnny Reyes 12/20/24 350263 860.00
Ayala Home improvement Inc 12/20/24 350264 2,480,00
Ayala Home Improvement Inc 12/27/24 350265 1,860.00
Edge Fibernet Inc 12/27/24 350266 49,72
Mr T Carting Corp 12/27/24 350267 789.09

TOTAL CHECKS: 17,029.68

Case 1-25-44009-€SS DOC Yl-c Filed Uciisico Entered O2Z/1s/2o LOL fico

25 JAY STRET LLC

SCHEDULE OF OUTSTANDING CHECKS
Bank Reconciliation as of December 31st, 2024

= PAYABLE TO CHECK DATE CHECK # AMOUNT Outstanding
Podell, Schwartz, Schechter & Banfield LLP 9/11/24 350225 475.00 Outstanding
Edge Fibernet inc 12/27/24 350266 49.72 Outstanding
“1
§24.72

TOTAL OUTSTANDING CHECKS:

Case 1-25-44009-€SS DOC Yl-c Filed Uciisico Entered O2Z/1s/2o LOL fico

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~ Statement Period
From December 01, 2024
To December 31, 2024
Page 1 of 3

PRIVATE CLIENT GROUP 133
36-36 33RD STREET
LONG ISLAND CITY, NY 11106

25 JAY STREET LLC DIP 9-133
DEBTOR IN POSSESION
CASE # CASE NO, 23-44083 (ESS)

77 BOX STREET
BROOKLYN NY 11222 9993 See Back for Important Information

Primary Account: 29756 11

IMPORTANT NOTICE: EFFECTIVE AS OF APRIL 15, 2024, FLAGSTAR PRIVATE BANK (THE
"BANK") HAS UPDATED ITS PRIVACY NOTICE, CALIFORNIA CONSUMER PRIVACY ACT
DISCLOSURE NOTICE, AND ONLINE PRIVACY STATEMENT (COLLECTIVELY, THE “PRIVACY

DOCUMENTATION").

THE UPDATED PRIVACY DOCUMENTATION WILL REPLACE ALL PRIVACY DOCUMENTATION IN
EFFEC? PRIOR TO APRIL 15, 2024. ON OR AFTER APRIL 15, 2024, PLEASE VISIT
HTTPS ; / /WWW. FLAGSTAR.COM/PRIVATE~BANK/ABOUT-US / AGREEMENTS ~AND-DISCLOSURES .
HTML TO VIEW THE PULL TEXT OF THE UPDATED PRIVACY DOCUMENTATION.

Relationship Summary Opening Bal. Closing Bal.

; BANK DEPOSIT ACCOUNTS
9756 BANKRUPTCY CHECKING 376,905.95 471,913.46

RELATIONSHIP TOTAL : 471,913.46
Case 1-25-44005-€SS DOC Yl-e2

flagstar

25 JAY STREET LLC DIP
DEBTOR IN POSSESION

CASE # CASE NO. 23-44083 (ESS)

77 BOX STREET
BROOKLYN NY 11222

BANKRUPTCY CHECKING

Summary

Previous Balance as of December

20 Credits
13 Debits

Ending Balance as of December

Deposits and Other Credits

Dec
Dec
Dec
Dec
Dec
Dec
Dec

Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec
Dec

02
03
04
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19
31

REMOTE CAPTURE
REMOTE CAPTURE

REMOTE CAPTURE

REMOTE CAPTURE

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REMOTE CAPTURE

ONLINE TRANSFER CREDIT
ONLINE XFR FROM: XXKXXX38
REMOTE CAPTURE

REMOTE CAPTURE

REMOTE CAPTURE

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REMOVE CAPTURE

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9756

2024

2024

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Statement Period
Prom December 01, 2024
To December 31, 2024
Page 2 of 3

PRIVATE CLIENT GROUP 133
36-36 33RD STREET
LONG ISLAND CITY, N¥ 11106

9-133

See Back for Important Information

Primary Account: 9756 11

376,905.95
175,794.90

80,787.39
471,913.46

14,350.00
661.00
8,100.00
11,358.11
13,000.00
13,647.00
4,000.00

4,500.00
8,331.72

3,250.00

12,000.00

13,015.00

14,085.00

18,675.34

3,200.00

1,164.94

: 7,500.00
, 9,731.79
4,125.00

11,100.00
Case 1-25-44005-€SS DOC Yl-e2

flagstar

25 JAY STREET LLC DIP

DEBTOR IN POSSESSION

CASE # CASE NO.

77 BOX

BROOKLYN NY

STREET

11222

Withdrawals and Other Debits

Dec

Dec

02

23

OUTGOING

WIRE

23-44083 (ESS)

REF# 20241202B6B7261F005131
TO: Midland Loan Services

BANK: PNC BANK, N.A.
OBI: Loan #030504908

OBI:
OBI:

AUTOMATED PAYMENT

CON ED OF NY

Checks by Serial Number

Dec
Dec
Dec
Dec
Dec
Dec

10
09
09
09
09
24

350256
350257
350258
350259
350260
350261

* Indicates break in

Daily Salances

Nov
Dec
Dec
Deo
Dec
Dec
Dec
Dec

30
02
03
04
05
06
09
10

376,905

331,255.
331,916.
382,022.
394,853,
398,103.
453,827.
456,238.

»95

95
95
06
78
78
54
45

ek/ref no.
CECONY

789.09
600.65
400.00
170.93
880.00
9,199.94

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51689730003

Dec
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Dec
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ABA:
ACCT,

24
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check sequence

Dec
Dec
Dec
Dec
Dea
Dec
Dec

350262
350263
350264
350265
350267 *

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13
19
23
24
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From December
December

Statement Period

To
Page

01,
31,

2024
2024

PRIVATE CLIENT GROUP 133

36-36 33RD STREET

LONG ISLAND CITY, NY 11106

See Back for Important Information

Primary Account:

464,903.
474,635.
478,760.
473,862.
463,462.
461,602.

471,913

400.
800.
2,480.
1,860.
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